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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                 )
In the Matter of the                             )
Federal Bureau of Prisons’ Execution             )
Protocol Cases,                                  )
                                                 )
LEAD CASE: Roane, et al. v. Barr                 )     Case No. 19-mc-145 (TSC)
                                                 )
THIS DOCUMENT RELATES TO:                        )
                                                 )
Roane v. Barr, 05-cv-2337                        )
                                                 )

                                              ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, (ECF No. 394), the

motions for a preliminary injunction filed by Plaintiffs Dustin Higgs and Cory Johnson, (ECF

Nos. 371, 375), are hereby GRANTED. The court finds that Plaintiffs have demonstrated a

likelihood of success on the merits and that, absent a preliminary injunction, Plaintiffs will suffer

irreparable harm. It further finds that the likely harm that Plaintiffs would suffer if the court does

not grant injunctive relief far outweighs any potential harm to Defendants. Finally, because the

public is greatly served by attempting to ensure that the most serious punishment is imposed in a

manner consistent with our Constitution, the court finds that it is in the public interest to issue a

preliminary injunction.

       It is hereby ORDERED that Defendants (along with their respective successors in office,

officers, agents, servants, employees, attorneys, and anyone acting in concert with them) are

enjoined from executing Plaintiffs Dustin Higgs and Cory Johnson until March 16, 2021.

Date: January 12, 2021
                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge
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